Case 5:24-cv-00731-M-RJ   Document 78-1   Filed 04/21/25   Page 1 of 22
Case 5:24-cv-00731-M-RJ   Document 78-1   Filed 04/21/25   Page 2 of 22
Case 5:24-cv-00731-M-RJ   Document 78-1   Filed 04/21/25   Page 3 of 22
Case 5:24-cv-00731-M-RJ   Document 78-1   Filed 04/21/25   Page 4 of 22
Case 5:24-cv-00731-M-RJ   Document 78-1   Filed 04/21/25   Page 5 of 22
Case 5:24-cv-00731-M-RJ   Document 78-1   Filed 04/21/25   Page 6 of 22
Case 5:24-cv-00731-M-RJ   Document 78-1   Filed 04/21/25   Page 7 of 22
Case 5:24-cv-00731-M-RJ   Document 78-1   Filed 04/21/25   Page 8 of 22
Case 5:24-cv-00731-M-RJ   Document 78-1   Filed 04/21/25   Page 9 of 22
Case 5:24-cv-00731-M-RJ   Document 78-1   Filed 04/21/25   Page 10 of 22
Case 5:24-cv-00731-M-RJ   Document 78-1   Filed 04/21/25   Page 11 of 22
Case 5:24-cv-00731-M-RJ   Document 78-1   Filed 04/21/25   Page 12 of 22
Case 5:24-cv-00731-M-RJ   Document 78-1   Filed 04/21/25   Page 13 of 22
             EXHIBIT A




Case 5:24-cv-00731-M-RJ   Document 78-1   Filed 04/21/25   Page 14 of 22
Case 5:24-cv-00731-M-RJ   Document 78-1   Filed 04/21/25   Page 15 of 22
Case 5:24-cv-00731-M-RJ   Document 78-1   Filed 04/21/25   Page 16 of 22
Case 5:24-cv-00731-M-RJ   Document 78-1   Filed 04/21/25   Page 17 of 22
Case 5:24-cv-00731-M-RJ   Document 78-1   Filed 04/21/25   Page 18 of 22
Case 5:24-cv-00731-M-RJ   Document 78-1   Filed 04/21/25   Page 19 of 22
Case 5:24-cv-00731-M-RJ   Document 78-1   Filed 04/21/25   Page 20 of 22
Case 5:24-cv-00731-M-RJ   Document 78-1   Filed 04/21/25   Page 21 of 22
Case 5:24-cv-00731-M-RJ   Document 78-1   Filed 04/21/25   Page 22 of 22
